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                     EXHIBIT B
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•····-···· Forw arded message •········
From : Kyla Welch <f(Welcb@oemibaker ocg>
Date: Thu, Aug 15, 20 24 at 12:33 PM
Subject: Re: Parker and Soccer Practice
To: < stirrell@gmail.com >


Good Afternoon Sara,

RSA 193:4 1 which is effective August 18, 2024 does not just apply to interscholastic competition. Rather, it states that school athletic teams
or sports designated for girls are not open to students whose biological sex at birth w as male. The District is required to follow the new law
even though it has not enacted a policy to ensu re compliance with the new law. Onl y team m embers are permitted to practice. Effective
August 18th, the new law prohibits Parker from being on the girls' team.

Thank you, Kyla


On Thu, Aug 15, 20 24 at 8 :13 AM Sa ra Tirrell <stirrell@gmail.com> w rote:

  Good morning Kyla,

  I know you are stuck in a complicated spot wit h HB 1205 going into effect next w eek. As you consider whether or not to allow Parker to practice, I
  w anted to shar e a few thoughts wit h you.

       1. Nowhere i n HB 1205 does it say anyth ing about practice. The law only r efers to "interscholastic competition." Why would a school go
           further than w hat the law says?
       2 . HB 1205 directs the school board to adopt a p olicy but they haven't adopted any policy as o f yet. How can anyone make the
           determination that Parker can't practi ce without showing how it violates a Board p olicy? (the text of the law is here, if yo u w ant to
         r eference it : blt~eiscao com/N Hhext/HRl 20S(id/28§85S9)

  It doesn't seem to make sense to kick her off the team in t he short term when we don't know what might happen over the next cou pie of w eeks.
  Parker has been struggling quite a bit with t h ese new r equirem ents. I'm hopeful the team, school and SAU will continue to support Iner where they ar e
  able to.

  Thank you,
  Sara




Kyla A. Welch, Superintendent of Schools
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